2:18-mn-02873-RMG Date Filed 01/22/19 EntryNumber10 Pagelof1l

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

CHARLESTON DIVISION
) MDL No. 2:18-mn-2873-RMG
IN RE: AQUEOUS FILM-FORMING )
LITIGATION )
) This Notice Relates to
Case No. 2:18-cv-03522

PLEASE TAKE NOTICE that Alan J. Knauf of Knauf Shaw LLP hereby appears as
attorney of record for Defendant City of Newburgh in this action, and demands that all papers in

this action be served upon the undersigned at the address stated below.

Dated: Rochester, New York

J 22, 2019 JH
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